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                     EXHIBIT A
          CASE 0:20-cv-02007-SRN-TNL Doc. 79-1 Filed 02/22/22 Page 2 of 5
                                                                                Office of the City Attorney
                                                                                     James R. Rowader, Jr.


                   4                                                                         City Attorney
                                                                              350 S. Fifth St., Room 210


Minneapolis                                                                       Minneapolis, MN 55415
                                                                   TEL 612.673.3000 TTY 612.673.2157
City of Lakes                                                                www.minneapolismn.gov


                                                                                            612.673.3919
                                                                        kristin.sarff@minneapolismn.gov

February 9, 2022


By Hand Delivery
Robert Bennett
Kathryn H. Bennett
Marc E. Betinsky
Andrew J. Noel
Esther Mignanelli
Robins Kaplan LLP
800 LaSalle Avenue, Suite 2800
Minneapolis, MN 55402

Re:      Soren Stevenson v. John Doe 1, et al.. Court File No. 20-CV-2007 (SRN/TNL)

Counsel,

Enclosed and served upon you please find the Rule 68 Offer of Judgment from Defendants
Benjamin Bauer, Matthew Severance and Ryan McCann to Plaintiff Soren Stevenson.

Sincerely,

/s Kristin R. Sarff

Kristin R. Sarff
Assistant City Attorney

Enc.
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Soren Stevenson,                                            Case No. 20-CV-2007 (SRN/TNL)

               Plaintiff,

         v.
                                                     RULE 68 OFFER OF JUDGMENT
Benjamin M. Bauer, acting in his
individual capacity as a Minneapolis Police
Officer; Matthew Severance and Ryan
McCann, acting in their individual
capacities as supervisory Minneapolis
Police Officers; Medaria Arradondo, acting
in his official capacity as the Minneapolis
Chief of Police; and the City of
Minneapolis,

               Defendants.


TO:      Plaintiff and his attorneys, Robert Bennett, Kathryn Bennett, Marc Betinsky,
         Andrew Noel, and Esther Mignanelli, Robins Kaplan, LLP, 800 LaSalle Avenue,
         Suite 2800, Minneapolis, MN 55402

         Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants Benjamin

Bauer, Matthew Severance, and Ryan McCann hereby offer to allow Plaintiff Soren

Stevenson to take judgment against them, jointly and severally, on all claims made or

which could have been made in Plaintiffs Complaint, Amended Complaint, or Second

Amended Complaint in the total amount of $2.4 million ($2,400,000.00) plus reasonable

attorneys’ fees and costs incurred by Plaintiff prior to the date of this offer; that is, with the

costs then accrued. The attorneys’ fees and costs will be in an amount to be set by the

Court.



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       Acceptance of this offer ofjudgment against Defendants Benjamin Bauer, Matthew

Severance, and Ryan McCann will be full satisfaction of all federal and state law claims or

rights that Plaintiff may have to damages, or any other form of relief, and extinguish any

claim or claims by Plaintiff against all named Defendants, including the City of

Minneapolis and Medaria Arradondo, and their agents and employees that were brought or

could have been brought in Plaintiffs Complaint, Amended Complaint, or Second

Amended Complaint. By accepting this offer ofjudgment, Plaintiff agrees that the existing

claims against all named Defendants, including the City of Minneapolis and Medaria

Arradondo, in his official capacity, will be dismissed with prejudice.

       This offer of judgment is not to be construed as an admission that any of the

Defendants or their agents and employees are liable in this action or that Plaintiff has

suffered any damages. Defendants expressly deny the validity of Plaintiffs claims and

expressly deny any liability.    This offer is contingent on acceptance by Plaintiff in

accordance with Rule 68 of the Federal Rules of Civil Procedure.




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Dated: February 9, 2022    JAMES R. RO WADER, JR.
                           City Attorney
                           By /s Kristin Sarff
                           KRISTIN R. SARFF (0388003)
                           SHARDA ENSLIN (0389370)
                           HEATHER P. ROBERTSON (0390470)
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                           sharda.enslin@minneapolismn.gov
                           heather.robertson@minneapolismn.gov

                           Attorneys for Defendants Benjamin Bauer,
                           Ryan McCann, Matthew Severance,
                           City ofMinneapolis and Medaria Arradondo,
                           in his official capacity




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